
16 N.Y.2d 810 (1965)
In the Matter of Alexander Chavich, Appellant,
v.
Board of Examiners of the Board of Education of the City of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued May 26, 1965.
Decided July 9, 1965.
John M. Kenney for appellant.
Leo A. Larkin, Corporation Counsel (Isidore Heyman, Seymour B. Quel and Joseph M. Callahan, Jr., of counsel), for respondents.
Concur: Judges DYE, BURKE, SCILEPPI and BERGAN. Chief Judge DESMOND and Judges FULD and VAN VOORHIS dissent and vote to reverse upon the dissenting opinion at the Appellate Division.
Order affirmed, without costs; no opinion.
